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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                  *     MDL NO. 2179
“DEEPWATER HORIZON” IN THE                       *
GULF OF MEXICO, on APRIL 20, 2010                *
                                                 *     SECTION J
                                                 *
THIS DOCUMENT RELATES TO:                        *     JUDGE BARBIER
                                                 *
2:11-cv-00263                                    *     MAG. JUDGE SHUSHAN
                                                 *
                                            ORDER

       After considering Plaintiff’s’ Motion to Remand, the Court GRANTS the motion. It is

therefore;

       ORDERED that C.A. 4:10-cv-03198, Buddy Trahan v. BP, PLC, et. al, is remanded to

the 270th District Court of Harris County, Texas.



Signed this the ________ day of ___________ 2011

                                                       _____________________________
                                                       JUDGE PRESIDING
